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                                                                                  Continuation of
                    Stephen G Baptista                                                                ESCROW ACCOUNT DISCLOSURE STATEMENT



                                                                           Escrow Account History
                    The following is a review of your escrow account activity. It also compares the projections from your last review with the actual payments made
                    from your escrow account.
                    (*) An asterisk indicates a difference between your projected and actual account activity.
                    (E) The payment or disbursement has not yet occurred, but is estimated to occur as shown.

                                  Payments to Escrow                           Payments from Escrow                                             Escrow Balance
                    Month         Projected     Actual         Projected    Description          Actual        Description                  Projected       Actual

                                                                                                               Beginning Balance             1,183.59      -4,270.37
                    MAY            475.37           0.00 *          80.84 FHA MIP Ins                                                        1,578.12
                    MAY                                                                                 79.09 *FHA MIP Ins                   1,578.12      -4,349.46
                    JUN            475.37           0.00 *          80.84 FHA MIP Ins                                                        1,972.65
                    JUN                                                                                 79.09 *FHA MIP Ins                   1,972.65      -4,428.55
                    JUL            475.37           0.00 *          80.84 FHA MIP Ins                                                        2,367.18
                    JUL                                                                                 79.09 *FHA MIP Ins                   2,367.18      -4,507.64
                    AUG            475.37           0.00 *          80.84 FHA MIP Ins                                                        2,761.71
                    AUG                                                                                 79.09 *FHA MIP Ins                   2,761.71      -4,586.73
                    SEP            475.37           0.00 *          80.84 FHA MIP Ins                                                        3,156.24
                    SEP                                                                                 79.09 *FHA MIP Ins                   3,156.24      -4,665.82
                    OCT            475.37           0.00 *          80.84 FHA MIP Ins                                                        3,550.77
                    OCT                                                                                 79.09 *FHA MIP Ins                   3,550.77      -4,744.91
                    NOV            475.37           0.00 *          80.84 FHA MIP Ins                                                        3,945.30
                    NOV                                                                                 79.09 *FHA MIP Ins                   3,945.30      -4,824.00
                    DEC            475.37           0.00 *          80.84 FHA MIP Ins                                                        4,339.83
                    DEC                                                                                 79.09 *FHA MIP Ins                   4,339.83      -4,903.09
                    JAN            475.37           0.00 *          80.84 FHA MIP Ins                                                        4,734.36
                    JAN                                          3,141.61 City Tax                  3,141.61 City Tax                        1,592.75      -8,044.70
                    JAN                                                                                79.09 *FHA MIP Ins                    1,592.75      -8,123.79
                    FEB            475.37           0.00 *          80.84 FHA MIP Ins                                                        1,987.28
                    FEB                                                                                 79.09 *FHA MIP Ins                   1,987.28      -8,202.88
                    MAR            475.37      10,655.81 E          80.84 FHA MIP Ins                                                        2,381.81       2,452.93
                    MAR                                          1,592.75 Hazard Ins                1,226.15 *Hazard Ins                       789.06       1,226.78
                    MAR                                                                                79.09 *FHA MIP Ins                      789.06       1,147.69
                    APR            475.37         502.63 E          80.84 FHA MIP Ins                  79.09 *FHA MIP Ins                    1,183.59       1,571.23
                    TOTALS                     11,158.44                                            5,316.84




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                                               CERTIFICATE OF SERVICE
                                       Eastern District of Pennsylvania

                 I, Michael J. Ransom          , of Branch Banking & Trust Company, PO Box 1847, Wilson, NC
          27894, do hereby certify:

               That I am more than eighteen (18) years of age and:

             That on the 21st day of          March           , 2017 , I served a copy of the within “NOTICE OF
          MORTGAGE PAYMENT CHANGE" filed in this bankruptcy matter on the respondent(s) in this
          bankruptcy matter by depositing a copy thereof in the United States Mail with adequate postage affixed
          thereon addressed to the said respondent(s) at:


          US Bankruptcy Court
          900 Market Street #400
          Philadelphia, PA 19106


           Frederick L. Reigle, Chapter 13 Trustee
           PO Box 4010
           Reading, PA 19606



          Michael A. Cataldo, Attorney at Law
          1500 Walnut Street, Suite 900
          Philadelphia, PA 19102



           Stephen G. Baptista
           9877 Garvey Drive
           Philadelphia, PA 19114




               I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
          CORRECT.

                       03/21/2017
          Executed on ___________________        Michael J. Ransom
                                          By: /s/________________________________
                    (date)                (signature)




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